           Case 21-32351 Document 22 Filed in TXSB on 07/13/21 Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                        §
    In re:                              §                       Chapter 11
                                        §
    LIMETREE BAY SERVICES, LLC, et al., §                       Case No. 21-32351 (DRJ)
                                        §
           Debtors. 1                   §                       Jointly Administered
                                        §
                                        §

           NOTICE OF APPEARANCE AND REQUEST FOR ALL DOCUMENTS

         PLEASE TAKE NOTICE that the undersigned hereby enters their appearance as counsel

to 405 Sentinel LLC and Arena Investors, LP, and requests that all notices given or required to be

given in this case and any case consolidated herewith, and all papers served or required to be served

in this case, and any cases consolidated herewith be given to and served upon the following:

                                     Jason S. Brookner
                                     Paul D. Moak
                                     Lydia R. Webb
                                     GRAY REED
                                     1300 Post Oak Blvd, Suite 2000
                                     Houston, Texas 77056
                                     Telephone: (713) 986-7000
                                     Facsimile: (713) 986-7100
                                     Email: jbrookner@grayreed.com
                                              pmoak@grayreed.com
                                              lwebb@grayreed.com

         This request encompasses all notices, copies and pleadings referred to in any and all

(i) sections of title 11 of the United States Code, and (ii) Rules contained in the Federal Rules of




1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC. (1776); Limetree Bay
Refining Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining Operating, LLC
(9067); Limetree Bay Refining Marketing, LLC (9222). The Debtors’ mailing address is Limetree Bay Services,
LLC, 11100 Brittmoore Park Drive, Houston, TX 77041.

4841-7522-9937.1
           Case 21-32351 Document 22 Filed in TXSB on 07/13/21 Page 2 of 3




Bankruptcy Procedure, including without limitation notices of any orders, motions, demands,

complaints, petitions, pleadings or requests, applications, and any other documents brought before

this Court in this case, whether formal or informal, written or oral, transmitted or conveyed by

mail, e-mail, delivery, telephone, telegraph, telex or otherwise that effect or seek to effect the

above-captioned proceeding.

         PLEASE TAKE FURTHER NOTICE that neither this notice nor any later appearance,

pleading, claim, or suit shall waive any right (1) to have final orders in non-core matters entered

only after de novo review by the District Court, (2) to trial by jury in any proceeding so triable in

this case or any case, controversy, or proceeding related to this case, (3) to have the District Court

withdraw the reference in any matter to which 405 Sentinel LLC is or may be entitled, at law or

in equity, and all such rights, actions, claims and defenses are expressly reserved.

         Respectfully submitted this 13th day of July, 2021.

                                               GRAY REED

                                               By: /s/ Jason S. Brookner
                                                  Jason S. Brookner
                                                  Texas Bar No. 24033684
                                                  Paul D. Moak
                                                  Texas Bar No. 00794316
                                                  Lydia R. Webb
                                                  Texas Bar No. 24083758
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                                               COUNSEL TO 405 SENTINEL LLC AND
                                               ARENA INVESTORS, LP



                                                  2
4841-7522-9937.1
           Case 21-32351 Document 22 Filed in TXSB on 07/13/21 Page 3 of 3




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 13th day of July, 2021, he caused a true and
correct copy of the foregoing document to be served via the Court’s CM/ECF system.

                                            /s/ Jason S. Brookner
                                            Jason S. Brookner




                                               3
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